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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   NORTHERN DIVISION

    ASHLEY BOSHEA, ADMINISTRATOR *
    OF THE ESTATE OF DAVID JOHN   *
    BOSHEA (PETITION PENDING),    *
                                  *
         Plaintiff,               *
                                  *                               Case No. 1:21-CV-00309-ELH
         v.                       *
                                  *
    COMPASS MARKETING, INC.       *
                                  *
         Defendant.
                                  *
    *    *      *   *   *     * *                             *        *        *        *        *        *

RESPONSE TO MOTION TO RESCIND THE COURT’S APRIL 3 LETTER TO JUDGE
GARCIA OF THE WILL COUNTY CIRCUIT COURT AND CORRECT THE RECORD

        Ashley Boshea, proposed administrator of the Estate of David John Boshea 1, for her

response in opposition to Compass Marketing, Inc.’s Motion to Rescind the Court’s April 3 Letter

to Judge Garcia of the Will County Circuit Court and Correct the Record, states:

        Compass, through its motion and Cindy Johnson’s Declaration, seeks to recharacterize

what occurred in the Will County Circuit Court on April 3, 2025. The Hon. David Carcia stood

ready to appoint Ashley Boshea as administrator until Compass’ counsel raised technical issues.

The Court, having a long call that day, did not address any of the matters Compass raised.

        While Cindy Johnson asserts that she raised substantive objections, her claim lacks merit.

Moreover, Ms. Johnson is a bankruptcy and creditors’ rights attorney who does not hold herself

out as experienced in probate matters. See, Recitation of Expertise, Service Area, and Ms.

Johnson’s description of her practice at http://jnlegal.net/.



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  The Court’s March 18, 2025 Order designates the proper caption and parties to this lawsuit to which the
respondent adheres. The Estate of David Boshea’s petition to allow Ashley Boshea to serve is pending a hearing on
June 17, 2025.
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        While this Court is unlikely to be in a position to weigh on issues of Illinois probate law,

the approximate value of David Boshea’s estate is $3,000. Although unnecessary, the Small Estate

Affidavit filed in the Will County Court notes, “$3,000 and unknown proceeds from litigation.”

See Exhibit A. Perhaps due to her lack of experience in probate matters, Ms. Johnson and Stephen

Stern are unaware that a contingent claim is not an estate until realized. Similarly, Gregory Jordan

would recover his fees and expenses from the successful prosecution of the above-captioned

lawsuit. Similarly, Julie Boshea does not have a right to 50% of anything until the contingency

blossoms into a judgment. Clearly, Compass, as well as the Respondent, expects the jury in this

case to enter judgment against Compass in an amount exceeding the initial award.

        Regarding the settlement demand referenced in the motion, such communication is

improper under Rule 408 of the Federal Rules of Evidence. Compass uses the offer to prove the

amount of the estate’s assets. As the rule states in pertinent part, “Evidence of the following is not

admissible--on behalf of any party--either to prove or disprove the validity or amount of a disputed

claim …” Fed. R. Evid. 408. Moreover, only if Compass had agreed to a settlement would the

estate’s value increase from the amount now existing.

        It is important to note that the Estate of David Boshea has filed a response challenging

Compass’ standing. See, Exhibit B. Further, the Respondent agrees with the Court’s view that

Compass was and is motivated to take action in the Probate Case to avoid a trial. A trial at which

it most likely will lose.

        Compass does not possess an actual claim against David Boshea’s estate. In its state court

complaint Compass filed against two of its shareholders and others, Compass refers to the

purported forgery of the contact that John White assuredly signed. Even if Compass had a claim,

the statute of limitations for bringing that claim has expired.



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                    RESPECTFULLY SUBMITTED,

                    /s/ Gregory J. Jordan
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                                CERTIFICATE OF SERVICE

I certify that on June 6, 2025, Ashley Boshea, as the proposed administrator of the Estate of David
J. Boshea served her Response to Motion to Rescind the Court’s April 3 Letter to Judge Garcia of
the Will County Circuit Court and Correct the Record through the Court’s CM/ECF system on:
                      Stephen B. Stern
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                                      /s/ Gregory J. Jordan
                                      Gregory J. Jordan




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